      Case 2:19-cv-00573-GBW-CG Document 60 Filed 05/06/20 Page 1 of 3



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

DEANDRA SHONTRELL
GATEWOOD, et al.,

               Plaintiffs,

v.                                                         CIV No. 19-573 GBW/CG

THE ESTATE OF JASON E. THOMPSON,
individually and as agent of THOMPSON
OILFIELD HAULING SERVICES, LLC, et al.,

               Defendants.

               ORDER SETTING TELEPHONIC STATUS CONFERENCE
                    AND ZOOM SETTLEMENT CONFERENCE

        To facilitate a final disposition of this case, a mandatory settlement conference

will be conducted in accordance with Federal Rule of Civil Procedure 16(a)(5). Due to

the ongoing uncertainty created by the Covid-19 pandemic, and the likelihood that the

need for social distancing will continue through the date of the scheduled settlement

conference in this case, the Court will hold the upcoming settlement conference via

Zoom.

        The settlement conference will be held via Zoom on Thursday, July 9, 2020, at

9:00a.m. A telephonic status conference will be held on Thursday, July 2, 2020, at

2:00p.m. to discuss the parties’ positions.

        IT IS HEREBY ORDERED that the parties and a designated representative,

other than counsel of record, with full authority to resolve the case, must attend the

settlement conference; counsel who will try the case must also attend. All attorneys and

parties involved in the settlement conference must treat as confidential the information
      Case 2:19-cv-00573-GBW-CG Document 60 Filed 05/06/20 Page 2 of 3



discussed, positions taken, and offers made by other participants in preparation for and

during the conference.

      IT IS FURTHER ORDERED that:

      1. By June 11, 2020, Plaintiffs’ counsel shall serve on Defendant’s counsel a
         concise letter that sets forth a settlement demand itemizing the principle
         supporting damages or other relief that Plaintiffs assert would appropriately
         be granted at trial.

      2. By June 18, 2020, Defendant’s counsel shall serve on Plaintiffs’ counsel a
         concise letter that sets forth a response to the settlement demand.

      3. By June 25, 2020, each party shall provide to the Court:

             a. A copy of each letter that was sent to an opposing party;

             b. A confidential, concise letter containing an analysis of the strengths
                and weaknesses of its case; and

             c. Any video or audio recordings of the incident upon which this action is
                based.

             d. This letter should also contain the email addresses and phone
                numbers for all participants in the settlement conference. This contact
                information will be used to send the invitation to attend the settlement
                conference via Zoom.

          These materials may be submitted to the Court by email at
          garzaschambers@nmd.uscourts.gov.

      4. Each of these letters typically should be five (5) pages or fewer, and counsel
         will ensure that each party reads the opposing party’s letter before the
         settlement conference.

      5. Before July 2, 2020, counsel shall confer with one another about their clients’
         respective positions.

      6. On July 2, 2020, at 2:00p.m., counsel shall call Judge Garza’s AT&T line at
         (877) 810-9415, follow the prompts, and enter access code 7467959, for a
         pre-settlement telephonic status conference.

      7. The Court will send all participants a personal invitation to the Zoom meeting
         once it receives settlement materials from the parties.
      Case 2:19-cv-00573-GBW-CG Document 60 Filed 05/06/20 Page 3 of 3



      A party must show good cause to vacate or reschedule the settlement

conference. Any such request must provide the Court with sufficient notice to ensure

that other matters may be scheduled in the time allotted for the settlement conference.

      IT IS SO ORDERED.



                                  THE HONORABLE CARMEN E. GARZA
                                  CHIEF UNITED STATES MAGISTRATE JUDGE
